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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 1 of 22 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

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this netion) ee J Judge John W. pa niel G. Martin
cof Ceo N Magistrate Judge Va
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(Enter above the full name of ALL A-PDF R~
defendants in this action. Do not

use "et al.")

“8. Code (state, county, or municipal defendants)

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CLERK, US DISTRICT COURT

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COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)
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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 2 of 22 PagelD #:2

1. Plaintiff(s): .
A. Name: J Pot Ss Buwa

B. List all aliases:

C. Prisoner identification number:

D. Place of Dy
E. Address: 7 = Sag enon’ Zl

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

II. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space AP,
for two additional defendants is provided in B and C.) ceo Coffel WE
Cartel 6 elk

: Steve Ly caart okt
A. Defendant: Me?, eileen t fe icy [emplementer
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Place of Employment: LY ak Preok i

Purtera
B. Defendant: Rav Ba

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C. Defendant: é SPEEUMN ER Me 3 wee, Cur &f/ 2 perreto(—

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(If you have more than three defendants, then all additional defendants must be listed

é / according to the above format on a separate sheet of paper.) Goy-7l mr clrion Park
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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 3 of 22 PagelD #:3

~ List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

Na f case and docket number! LPF. pcky VS, ci 7 [
LZ esheets] feafijjug 6
7
Approximate date of filing lawsuit: ole g—_ 20] S>

List all plaintiffs (if you had co-plaintiffs), including any aliases: 4 Qo <<

List all defendants: ctl Li Us haxtihs flick y
Co

Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county): _F <ot 4% CAS LE LAY

Name of judge to whom case was assigned: are 5 vek lo

Basic claim made: C tv l | K doktr AUS

Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pending?): Mhkutun LE freseo a

Approximate date of disposition: —Y l 3 ae

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 4 of 22 PagelD #:4

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

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CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions ons by the vl

Signed thi oA ay of \¢ 20 {S
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(Signature of plaintiff orp plaintiffs)
[s by

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 7 of 22 PagelD #:7

Exhibit A

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 9 of 22 PagelD #:9

Case No. 14-P-79

b. Title or Description: Written Statement of Jennifer Haney, dated March 30, 2015
Source: Complainant
Relevant Content: Haney states that as she was returning from using
Respondent’s restroom she heard Barrera screaming, ‘‘Get the fitck out of here.” Complainant
informed Haney what happened while she was in the restroom. Haney took money out of her
purse and asked for a fresh cup of coffee. Barrera told Haney, “If [Complainant] gets the fick
out of the store, I'll serve you, because it’s for him.” Haney told Barrera that she had nothing to
do with Complainant, and asked him to “please get her a fresh cup of coffee.” Haney took her
money off the counter and told Complainant, ‘“Let’s go—they do not deserve my money.”
Barrera continued to tell Complainant to leave the restaurant and that he was going to call the
police. Haney said she was never denied service before and never treated this way in her life.

Staff Note: The Commission Investigator contacted Haney on April 9, 2014, to verify her
written statement. Haney stated that she had nothing to add to her statement.

7. UNAVAILABLE EVIDENCE

The Commission Investigator requested that Respondent McSween Enterprises provide a
copy of the video surveillance footage of the restaurant on October 17, 2014. McSween
Enterprises informed the Commission that it cannot provide the requested evidence because its
surveillance footage is retained for 15 days and then the disc is “rewritten” or recorded over with
new footage.

8. DETERMINATION

Complainant alleges that he was subjected to differential treatment by McDonald’s
employees because of his race, color, national origin, sex, religion, and disability when he was
refused a “fresh” cup of coffee, yelled at, threatened, and told to leave the restaurant.
Respondents deny that Complainant was subjected to discriminatory treatment. Respondent
McSween Enterprises contends that Complainant was asked to leave the restaurant after
exhibiting disruptive behavior, insulting the employees, and using profane language.

The investigation revealed that Respondent McDonald’s Corporation did not control any
employee at the restaurant located at 2525 S. Michigan as it is a franchisor. Thus, McDonald’s
Corporation is not a proper respondent in this matter.

The investigation revealed that Complainant asked for a fresh cup of coffee, that it be
made in “plain view,” and that Powell wash her hands before making it. The investigation
further revealed that Complainant and employees of the restaurant engaged in a verbal
altercation. Although Complainant contends that the employees engaged in “racist” behavior,
the investigation did not reveal any substantial evidence that any action of the employees was
based on Complainant’s race, color, national origin, sex, religion or disability. There was no
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My Commission Expires 8/23/2017

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 14 of 22 PagelD #:14

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 17 of 22 PagelD #:17

count I Mcdonalds corporation d/b/a Mcsween enterprises
Allegations are fraudulent,misrepresentive of the true facts

plaintiff visited the mcdonalds whom denied dunn a drink on
October 17,2014 wearing a black,colored,knitted kufi.the place
Where he was told to "get the fuc out of the store" and that he
Raul would fuc dunn up!")d@unn almost had a drink that “grimingly
The cashier would have probably given dunn but as she was shoved
Out the way :a deliberate act,then as raul ,working for mcdonalds
Under color of state law took the money out the cashier and then
Gave it back to dunn was done under a entire amount of cameras.
Thje abuse was from these mcsween employees whom only one person
Wore a nametagg,and daneeile,danielle ) had nothing to do with it
The very contention this restaurant stated he would keep the film
As dunn called corporate and the business rendered a duty to
Preserve so it's position committed violating attorney rules

of misconduct 8.4 were being violated by paralegals onbehalf of
the law firm of Lapointe law for profit inside a professional
Corporation.,these firms involved have "failed to disclose a
Material fact knowing it would be neccessary to avoid criminal
Acts done by it§ clients,prohibitted by rule 1.6

2) They contend they did a investigatioin$ with routine destroyed
Material evidence to the complaintents favor,also attempted to vo
VOID off the white female witness as though she came to save the
"poor" colored-coppertoned -dunn from danger) but she gave a
Enclosed testimony to the iNvestigator oakly and affidavit

Which was notaried and true,which was given to a white male in

A brown suit blazer,by dunn just prior to this "unfound finding.
When dunn told/adverted to determined to deny dunn(raul,)raul

was told "this is vs islam and the hadith,raul shrugged,signed
And i don't give a fuc about that shit ,fuc idhr,as dunn stated
This is a form of discrimination,dunn clearly as always ,often wa
Was wearing his knitted kufi on his hgead.head.these incorporated
Statements has misled the commission and dunn.it's partial
Reversal of truths is an admitted lie vs patrons whom just wanted
Something hot on a cold day.THUS DUNN MEETS THE BURDEN OF EVIDNEC

8-3)Mcsween falsifies reports dunn didn't make the investigator
Can easily attest and inquire of that thru acellcall to the
Toll free number.the mcsween corporation was reported to the Hom
FBI since the police wouldn't take a report,as well the FTC took
a report of such a heinous,blood psi act vs dunn.this business
Cannot even begin to implement meritless arguments of evidence
When as the posseors it destroyed,altered,remooved, voided the"
Real evidence inducing witnesses which is prohibitted by law.
4) the city of chicago of human relations has rules and regulatio
Similar to a court of law therfore a harmed victim as dunn and
The stinch this would leave to a jury,must have and reversal if
Iocan show nm that this took place,and that had the evidence as
requested been kept it would Support the patrons,and in light of
The very fact dunn did have to force them hy repeatedly begging
For rauls name shows a denial at the highest ,no drink was ever
Tendered,no cops came,the integrity

of this investigation has been breached

the rights of dunn & his witness have been

te 'Py000 econ I Pray for reversal

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 18 of 22 PagelD #:18

At this location,dunn and witness could have been given false
Data and the destruction of evidence that a reasonable person
Would had knew,should had known could occur from the fact dunn
Badly affirmed them all that they could explain it to all state
Agencies,thus without this footage in this restaurants control
Their reputation dunn and the public rely upon leads a person
Into being misled that the entity is not mcdonalds affiliates &
Their untruthful badfaith frivolous answer should be ruled vs
Them

6.) The commission and the Mayor will be listed as a Defendant

In this proceeding whereby i'll seek a disclosure of attorneys
Involved to pursue a "non-immunitive" damage assessment of what
I could had gotten if not for the commission allowing a report
Filed by dunn to be deleted,or altered in dunn's absence.
7)Dunn's investigator vanished just prior to this cruel,unjust
Finding ,never sending dunn as much as a postcard,call,etc.

The investigator didn't even know about the finding until i

Had called and theirs no “immunity from the Honorable Fbi

Or any other subsequent investigatory unit dunn would also

Be notifying.

8.)Raul's contentions and threats were factual as he had nothing
To do with the saleW and peered,jeered racial overatures to dunn
As powell and dunn joked over a statment dunn made.(footage as
In terms of a already "preexisting duty" should have been kept
Due to responses employees stated confirming all doubt they

Knew dunn belonged to a protective classs.both white female

And dunn were threatened,cops he called immediately(see travon
Martin) but they did not come as dunn was orally saying"he

Won't serve us a drink and i got money in hand"

9.)MCDONALDS OFFENDS THE complaintent stating they gave me a. cup
Of coffee this is a sanctionable conduct coaching a witness into
Lieing vs a parties while destroying,altering,ommitting the
Evidence vs statutes of the state,knowing that it would had
Prooved beyond a reasonable of contended doubt(outside witness
Testimony that we both were cursed,threatended dunn was,dunn

has been ill after drinking at this restaurant with subsequent
Diaghosis for gastricinis,and diaherrea by which medical bills &
Other mental anguish has ensued .dunn has agreed to not go back
And signJ a release agreement not to pursue federal 1964 rico,
Civil rights,consumymer ,false adveré£SEMENT counts and ADA
Claims in exchange for 15,000/$12,000 with withdrawal of IDHR
CHARGES already perfected but the “expedient" rushing along a
Finding were dunn as it did not even contact dunn as assured

By investigator for a hearing.this ruling can not be in good
Faith seeing that plaintiff relied under prudent ordinary care
Standards when he came inside after his patron went in,and asked
With cash if he could have a "fresh-cup-of-coffee,it appeared

As ms powell were engaged until shoved aside,having raul remooveo
The cash which had been taken ,and raul returned it over & over
To dunn and the restaurant with the mcdonalds cups,outfits,fries
Through it's controlling operations "denied" the equal & fair
Enjoyment of the facility.

10)dunn and witness had money,both spent money their before,both
Were denied,dunn wore kufi,physical handicap,obvious ailment
Dunn plead his case business-like and professional to still be
With mailistic malice,wanton hate ,told "get the fuc@ out of the
Store",& "I don't give a fuc about the dept of human rights"!and
On and on he's gonna fuc@ me up!usc 1509 title 18 prohibits
The deliberate destruction of evidence.dunn has given evidence
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Case Number:

Judge: by & feng

Magistrate Judge: Ya vu,S.C,

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Plaintiff

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Case: 1:15-cv-09296 Document #: 1 Filed: 10/20/15 Page 21 of 22 PagelD #:21

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Case Number:

Judge: Lb fing

Magistrate Judge: Ya v,S-C.

Plaintiff

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